     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 1 of 36 PageID #:114




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LUKE COMBS,

        Plaintiff,                                        Civil Action No.: 1:23-cv-14485

v.                                                        Judge Elaine E. Bucklo

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

      MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR
 ENTRY OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
 INJUNCTION, A TEMPORARY ASSET RESTRAINT, EXPEDITED DISCOVERY, AND
     SERVICE OF PROCESS BY E-MAIL AND/OR ELECTRONIC PUBLICATION

        Plaintiff, Luke Combs, (“Luke Combs” or “Plaintiff”), submits this Memorandum in support

of Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining Order, including a temporary

injunction, a temporary asset restraint, expedited discovery, and service of process by email and/or

electronic publication (the “Ex Parte Motion”).
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 2 of 36 PageID #:115




                                                             TABLE OF CONTENTS


I.     INTRODUCTION AND SUMMARY OF ARGUMENT ........................................................1
II. STATEMENT OF FACTS ..........................................................................................................4
       A. PLAINTIFF’S TRADEMARKS AND PRODUCTS.............................................................................4
       B. DEFENDANTS’ UNLAWFUL ACTIVITIES ....................................................................................4
             i. Defendants Operate Legitimate-Looking Internet Stores .................................................5
             ii. Defendants Illegitimately Optimize the Defendant Internet Stores for Search Engines...6
             iii. Defendants Use Fictitious Aliases and Common Tactics to Evade Shut Down ..............6
III. ARGUMENT ................................................................................................................................8
       A. THIS COURT MAY EXERCISE PERSONAL JURISDICTION OVER DEFENDANTS ...........................9
       B. STANDARD FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION ............11
       C. PLAINTIFF WILL LIKELY SUCCEED ON THE MERITS ...............................................................12
             i. Plaintiff Will Likely Succeed on his Trademark Infringement and Counterfeiting Claim
                .........................................................................................................................................12
             ii. Plaintiff is Likely to Succeed on his False Designation of Origin Claim .......................16
       D. THERE IS NO ADEQUATE REMEDY AT LAW AND PLAINTIFF WILL SUFFER IRREPARABLE
          HARM IN THE ABSENCE OF PRELIMINARY RELIEF ..................................................................16
       E. THE BALANCING OF HARMS TIPS IN PLAINTIFF’S FAVOR ......................................................18
       F. ISSUANCE OF THE INJUNCTION IS IN THE PUBLIC INTEREST ....................................................19
IV. THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE................................................20
       A. A TEMPORARY RESTRAINING ORDER IMMEDIATELY ENJOINING DEFENDANTS’
          UNAUTHORIZED AND UNLAWFUL USE OF PLAINTIFF’S MARK IS APPROPRIATE ....................20
       B. PREVENTING THE FRAUDULENT TRANSFER OF ASSETS IS APPROPRIATE ...............................21
       C. PLAINTIFF IS ENTITLED TO EXPEDITED DISCOVERY ...............................................................23
       D. SERVICE OF PROCESS BY E-MAIL AND/OR ELECTRONIC PUBLICATION IS WARRANTED IN THIS
          CASE ......................................................................................................................................24
V.     A BOND SHOULD SECURE THE INJUNCTIVE RELIEF ................................................28
VI. CONCLUSION ..........................................................................................................................28




                                                                            i
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 3 of 36 PageID #:116




                                                     TABLE OF AUTHORITIES

          Cases

Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992) ............................................... 13

All Star Championship Racing, Inc. v. O’Reilly Auto. Stores, Inc., 2013 WL 1701871, *10 (C.D. Ill.

   Apr. 18, 2013) ................................................................................................................................. 18

Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707, 709 (5th Cir. 2007) ................... 26, 27

Burger King Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla. 1992) ........................................... 22

CAE, Inc. v. Clean Air Eng’g Inc., 267 F.3d 660, 681 (7th Cir. 2001) .............................................. 16

Charter Nat’l Bank & Trust v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, *1

   (N.D. Ill. May 15, 2001) ................................................................................................................. 13

Columbia Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill. 1996) .......................... 10

CSC Holdings, Inc. v. Redisi, 309 F.3d 988 (7th Cir. 2002)............................................................... 28

Curry v. Revolution Labs., LLC, 949 F.3d 385, 399 (7th Cir. 2020).................................................. 12

Deckert v. Independence Shares Corp., 311 U.S. 282 (1940) ............................................................ 27

Dorr-Oliver, Inc. v. Fluid-Quip, Inc., 94 F.3d 376, 381 (7th Cir. 1996) ............................................ 16

Eli Lilly & Co. v. Natural Answers, Inc., 233 F.3d 456, 461, 462, 469 (7th Cir. 2000) ... 14, 16, 20, 23

G. Heileman Brewing Co., Inc. v. Anheuser-Busch, Inc., 873 F.2d 985, 999 (7th Cir. 1989)............ 16

Gateway Eastern Railway Co. v. Terminal Railroad Assoc. of St. Louis, 35 F.3d 1134, 1140 (7th Cir.

   1994) ............................................................................................................................................... 21

Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir. 1980) .................................................................... 29

Grupo Mexicano de Desarollo, S.A. v. Aliance Bond Fund, 527 U.S. 308 (1999) ............................ 27

Grupo Mexicano, 527 U.S. at 325 ...................................................................................................... 27

Hangzhou Chic Intelligent Technology Co. et al., v. The Partnerships and Unincorporated

   Associations Identified on Schedule A, 20-cv-04806 (N.D. Ill. April 1, 2021) .............................. 34
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 4 of 36 PageID #:117




Hangzhou Chic Intelligent Technology Co.; and Unicorn Global, Inc., v. The Partnerships and

   Unincorporated Associations Identified on Schedule A, 20-cv-04806 (N.D. Ill. April 1, 2021) ... 34

Helene Curtis Industries, Inc. v. Church & Dwight Co., Inc., 560 F.2d 1325, 1332 (7th Cir. 1977). 20

In re LDK Solar Secs. Litig., 2008 WL 2415186,*2 (N.D. Cal. Jun. 12, 2008) ................................. 35

In re Potash Antitrust Litig., 667 F. Supp. 2d 907, 930 (N.D. Ill. 2009) ............................................ 35

In re Vuitton et Fils, S.A., 606 F.2d 1 (2d Cir. 1979)............................................................................ 3

Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1092 (7th Cir. 1988) .......... 21

James Burrough Ltd. v. Sign of the Beefeater, Inc., 540 F.2d 266, 274 (7th Cir. 1976) .................... 23

Johnny Blastoff, Inc. v. Los Angeles Rams Football Co., 188 F. 3d 427, 436 (7th Cir. 1999) ........... 19

Juniper Networks, Inc. v. Bahattab, No. 1:07-cv-01771-PLF-AK, 2008 WL 250584, *1-2, (D.D.C.

   Jan. 30, 2008) .................................................................................................................................. 33

Krause Int’l Inc. v. Reed Elsevier, Inc., 866 F. Supp. 585, 587-88 (D.D.C. 1994) ............................ 22

Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir. 1995) .................. 26, 28

Libman Co. v. Vining Indus., Inc., 69 F.3d 1360, 1363 (7th Cir.1995) .............................................. 17

Lorillard Tobacco Co. v. Montrose Wholesale Candies..................................................................... 27

Lorillard, 2005 WL 3115892, at *13 (N.D. Ill. Nov. 8, 2005) ........................................................... 27

Luke Combs v. The Partnerships and Unincorporated Associations Identified on Schedule A, No. 21-

   cv-03332 (N.D. Ill. Aug. 20, 2021)....................................................................................... 3, 25, 28

MacLean-Fogg Co. v. Ningbo Fastlink Equip. Co., Ltd., No. 1:08-cv-02593, 2008 WL 5100414, *2

   (N.D. Ill. Dec. 1, 2008) ................................................................................................................... 32

Malarkey-Taylor Assocs., Inc. v. Cellular Telecomms. Indus. Ass’n, 929 F. Supp. 473, 478 (D.D.C.

   1996). .............................................................................................................................................. 23

Meridian Mut. Ins. Co. v. Meridian Ins. Group, Inc., 128 F.3d 1111, 1114 (7th Cir. 1997) ............. 20

Monco v. Zoltek Corp., 2018 WL 3190817, at *4 (N.D. Ill. Apr. 24, 2018) ...................................... 34
                                                                           iii
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 5 of 36 PageID #:118




Mori Lee v. Lei Liu et al., No. 19-cv-07555 at [60] (N.D. Ill. May 14, 2020) ................................... 12

Nanya Tech. Corp. v. Fujitsu Ltd., No. 1:06-cv-00025, 2007 WL 269087, *6 (D. Guam Jan. 26,

   2007) ............................................................................................................................................... 35

NBA Properties, Inc. v. HANWJH, No. 21-2909, 2022 WL 3367823, at *7 (7th Cir. Aug. 16, 2022)

   ......................................................................................................................................................... 11

Neopost Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005)......................... 14

Neopost, 403 F. Supp. 2d at 684 ......................................................................................................... 19

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S.Ct. 2380 (1978) ................................. 29

Polaroid Corp. v. Polarad Electronics Corp., 287 F.2d 492, 495 (2d Cir. 1961) .............................. 15

Polo Fashions, Inc. v. Craftex, Inc., 816 F.2d 145, 148 (4th Cir.1987) ............................................. 15

Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 563 (E.D. Tenn. 2004).. 32, 35

Promatek Industries, Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002)............................... 21

Purdue Research Found. v. Sanofi-Sythelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003) .................... 11

Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) .................................................... 20

Reebok Int'l Ltd. v. Marnatech Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992) ......................... 26, 28

Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). ............................... 32, 33

Sands, Taylor & Wood Co. v. Quaker Oats Co., 978 F.2d 947, 960 (7th Cir. 1992) ......................... 17

See Ty, Inc. v. The Jones Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001) ......................................... 13

Shashi, Inc. v. Ramada Worldwide, Inc., No. 7:05-cv-00016-JGW-mfu, 2005 WL 552593, *4 (W.D.

   Va. Mar. 1, 2005) ............................................................................................................................ 24

Stahly, Inc. v. M.H. Jacobs Co., 183 F.2d 914, 917 (7th Cir. 1950)................................................... 23

Strabala v. Zhang, 318 F.R.D. 81, 115 (N.D. Ill. 2016) ..................................................................... 34

Toho Co., Ltd. v. The Partnerships and Unincorporated Associations Identified on Schedule “A”,

   No. 23-cv-03744 (N.D. Ill. June 21, 2023) ........................................................................... 3, 25, 28
                                                                             iv
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 6 of 36 PageID #:119




Tommy Hilfiger Licensing LLC, et al. v. calvinklein.us.org, et al., No. 20-cv-07477 at [46] (N.D. Ill.

   March. 24, 2021) ............................................................................................................................. 12

Topps Co., Inc. v. Gerrit J. Verburg Co., 41 U.S.P.Q.2d 1412, 1417 (S.D.N.Y.1996) ...................... 15

Trans Union LLC v. Credit Research, Inc., 142 F. Supp. 2d 1029, 1043 (N.D. Ill. 2001) ................. 17

Ty, Inc., 237 F.3d at 895 ..................................................................................................................... 22

uBID, Inc. v. GoDaddy Group, Inc. 623 F.3d 421, 423 (7th Cir. 2010) ............................................ 11

Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007) ................ 29

Vineyard House, LLC v. Constellation Brands United States Operations, Inc., No. 4:19-cv-01424-

   YGR, 2021 U.S. Dist. LEXIS 15702, at *36-37 n.16 (N.D. Cal. Jan. 26, 2021) ........................... 19

Wesley–Jessen Division of Schering Corp. v. Bausch & Lomb Inc., 698 F.2d 862, 867 (7th Cir.1983)

   ......................................................................................................................................................... 20

Statutes

15 U.S.C. § 1051. ................................................................................................................................ 10

15 U.S.C. § 1057(b) ............................................................................................................................ 13

15 U.S.C. § 1114(1) ............................................................................................................................ 12

15 U.S.C. § 1116(a) ...................................................................................................................... 17, 21

15 U.S.C. § 1117 ............................................................................................................................. 3, 22

15 U.S.C. § 1125(a) ............................................................................................................................ 17

28 U.S.C. § 1331 ................................................................................................................................. 10

28 U.S.C. § 1367(a) ............................................................................................................................ 10

28 U.S.C. § 1391 ................................................................................................................................. 10

28 U.S.C. §§ 1338(a)-(b) .................................................................................................................... 10

Fed. R. Civ. P. Rule 4 .................................................................................................................. passim

Fed. R. Civ. P. 26(b)(2)....................................................................................................................... 25
                                                                              v
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 7 of 36 PageID #:120




Fed. R. Civ. P. 65 ......................................................................................................................... passim

Other Authorities

4 Callmann on Unfair Competition, Trademarks and Monopolies
  § 88.3(b) at 205 (3d ed. 1970)..........................................................................................................18

J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition
   § 30:40 (4th ed. 2013) ......................................................................................................................23




                                                                        vi
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 8 of 36 PageID #:121




                                     MEMORANDUM OF LAW

I.         INTRODUCTION AND SUMMARY OF ARGUMENT

           Plaintiff brings this action against the defendants identified in Schedule A to the Complaint

(collectively, the “Defendants”) for federal trademark infringement and counterfeiting (Count I)

and false designation of origin (Count II). As alleged in the Complaint, Defendants are promoting,

advertising, marketing, distributing, offering for sale, and selling potentially harmful and

dangerous counterfeit products in connection with Plaintiff’s federally registered trademarks

(collectively, the “Counterfeit Luke Combs Products”), through various online marketplace

accounts listed in Schedule A to the Complaint (collectively, the “Defendant Internet Stores”). In

short, Defendants run a counterfeiting operation with disregard for anything except generating

profits.

           The Defendants create numerous Defendant Internet Stores with an intent to have them

appear to be selling genuine products, while actually selling unauthorized and unlicensed

Counterfeit Luke Combs Products to unknowing consumers. The Defendant Internet Stores share

unique identifiers, such as design elements and similarities of the counterfeit products offered for

sale, establishing a logical relationship between them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions or

occurrences. Defendants attempt to avoid liability by concealing both their identities and the full

scope and interworking of their counterfeiting operation. Plaintiff has filed this action to combat

Defendants’ infringement and counterfeiting of Plaintiff’s registered trademarks, as well as to

protect unknowing consumers from purchasing Counterfeit Luke Combs Products over the

internet.




                                                        1
    Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 9 of 36 PageID #:122




       This Court has personal jurisdiction over Defendants because each Defendant targets

Illinois residents and has offered to sell, and on information and belief, has sold and continues to

sell Counterfeit Luke Combs Products to consumers within the United States, including the State

of Illinois. Specifically, Defendants are reaching out to do business with Illinois residents by

operating one or more commercial, interactive internet stores through which Illinois residents can

purchase products being sold in connection with Plaintiff’s Luke Combs Trademarks. Defendants

directly target unlawful business activities toward consumers in Illinois, cause harm to Plaintiff’s

business within this judicial district, and have caused and will continue to cause irreparable injury

to Plaintiff. Defendants deceive the public by trading upon Plaintiff’s reputation and goodwill and

by using their commercial, interactive internet stores to sell and/or offer for sale unlicensed

Counterfeit Luke Combs Products in connection with Plaintiff’s trademarks.

       Defendants’ ongoing unlawful activities should be restrained, and Plaintiff respectfully

requests that this Court issue an ex parte Temporary Restraining Order. Specifically, Plaintiff seeks

an order to: (1) temporarily restraining Defendants’ continued manufacture, importation,

distribution, offering for sale, and sale of Counterfeit Luke Combs Products and (2) temporarily

restraining Defendants’ assets to preserve Plaintiff’s right to an equitable accounting. Ancillary to

and as part of the TRO, Plaintiff respectfully requests that this Court (3) authorize expedited

discovery allowing Plaintiff to inspect and copy Defendants’ records relating to the manufacture,

distribution, offering for sale, and sale of Counterfeit Luke Combs Products and Defendants’

financial accounts and (4) authorize service by electronic mail and/or electronic publication.

       In light of the covert nature of offshore counterfeiting activities and the vital need to

establish an economic disincentive for trademark infringement, courts regularly issue such orders.

See, e.g., Toho Co., Ltd. v. The Partnerships and Unincorporated Associations Identified on



                                                 2
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 10 of 36 PageID #:123




Schedule “A”, No. 23-cv-03744 (N.D. Ill. June 21, 2023) and Luke Combs v. The Partnerships

and Unincorporated Associations Identified on Schedule A, No. 21-cv-03332 (N.D. Ill. Aug. 20,

2021) (granting Temporary Restraining Order); see also, In re Vuitton et Fils, S.A., 606 F.2d 1 (2d

Cir. 1979) (holding that ex parte temporary restraining orders are indispensable to the

commencement of an action when they are the sole method of preserving a state of affairs in which

the court can provide effective final relief).

        Plaintiff’s well-pleaded factual allegations, which must be accepted as true, and evidence

submitted through declarations, establishes that issuing a temporary restraining order against

Defendants is necessary and proper. Plaintiff can demonstrate a strong likelihood of success on

the merits. Plaintiff is the owner of the Luke Combs trademark registrations, and Defendants’ use

of Plaintiff’s trademarks to sell Counterfeit Luke Combs Products is causing consumer confusion.

        In addition, Defendants have and continue to irreparably harm Plaintiff through diminished

goodwill and damage to Plaintiff’s reputation. Monetary damages are inadequate to Plaintiff for

these damages. This makes injunctive relief particularly appropriate in this matter.

        Issuance of an injunction is also in the public interest because it will prevent confusion

among the public and prevent unknowing consumers from being deceived into purchasing

potentially harmful and dangerous Counterfeit Luke Combs Products.

        Moreover, under Federal Rule of Civil Procedure 65(d)(2)(C), this Court has the power to

bind any third parties, such as online marketplaces and financial institutions, who are in active

concert with the Defendants or who aid and abet Defendants and are given actual notice of the

order. Similarly, a prejudgment asset freeze is also proper since Plaintiff seeks an equitable remedy

in the accounting of Defendants’ profits pursuant to 15 U.S.C. § 1117(a). Finally, an order

authorizing service of process by email and/or electronic publication is proper since as a result of



                                                 3
      Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 11 of 36 PageID #:124




Defendants’ intentional efforts to conceal their identities and operate their business online. Serving

Defendants electronically is the best method for notifying them of this action and providing them

the opportunity to defend and present their objections.

II.      STATEMENT OF FACTS

          A. Plaintiff’s Trademarks and Products

        Plaintiff is in the business of developing, marketing, selling and distributing the Luke Combs

brand, a recognized symbol of high-quality band merchandise products. Long before Defendants’

acts described herein, Plaintiff launched the Luke Combs brand products. Plaintiff is the owner of

trademark registrations for the Luke Combs Trademarks, including U.S. Trademark Registration

Nos. 5,417,705; 5,573,127; and 5,573,124 (the “Luke Combs Trademarks”). See Declaration of

Christopher T. Kappy (the “Kappy Declaration”) at ¶ 5. The U.S. registrations for the Luke Combs

Trademarks are valid, subsisting, and in full force and effect. Id. at ¶ 6. A true and correct copy of

each of the federal trademark registration certificates for the Luke Combs Trademarks is attached

to the Kappy Declaration as Exhibit 1. The Luke Combs Trademarks are distinctive and identify

the merchandise as goods from Plaintiff. Id. at ¶7. The registrations for the Luke Combs

Trademarks constitute prima facie evidence of their validity and of Plaintiff’s exclusive right to

use the Luke Combs Trademarks which have been continuously used and never abandoned. See

id. at ¶ 8. Plaintiff has expended time, money, and other resources in developing, advertising, and

otherwise promoting the Luke Combs Trademarks. Id. at ¶ 9. As a result, products bearing the

Luke Combs Trademarks are recognized and exclusively associated by consumers, the public, and

the trade as being products sourced from Plaintiff. Id.

          B. Defendants’ Unlawful Activities

         The success of the Luke Combs brand has resulted in it being counterfeited. Id. at ¶ 10.

Plaintiff has identified numerous marketplace listings on platforms, including the Defendant

                                                   4
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 12 of 36 PageID #:125




Internet Stores, which were offering for sale, selling, and importing Counterfeit Luke Combs

Products to consumers in this judicial district and throughout the United States. Id. Nearly 90

percent of all intellectual property seizures occur in the international mail and express

environments with the majority of seizures originating from Asia. Declaration of Keith A. Vogt

(the “Vogt Declaration”). at ¶ 2. According to an intellectual property rights seizures statistics

reports issued by Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods

seized by the U.S. government exceeds $3.3 billion. Id. Internet websites like the Defendant

Internet Stores are also estimated to contribute to millions of lost jobs for legitimate businesses.

Id. at ¶ 3.

        The Counterfeit Luke Combs Products for sale in the Defendant Internet Stores bear

similarities and indicia of being related to one another, suggesting that the Counterfeit Luke Combs

Products were manufactured by and come from a common source and that, upon information and

belief, Defendants are interrelated.

                i. Defendants Operate Legitimate-Looking Internet Stores

        Upon information and belief, Defendants facilitate sales by designing the Defendant

Internet Stores so that they appear to unknowing consumers to be authorized online retailers, outlet

stores, or wholesalers selling genuine Luke Combs Products. Kappy Declaration at ¶ 12. Many of

the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit

cards, Western Union, Amazon, and PayPal. Id. Defendant Internet Stores often include images

and design elements that make it very difficult for consumers to distinguish such counterfeit sites

from an authorized website. Id. Defendants further perpetuate the illusion of legitimacy by offering

“live 24/7” customer service and using indicia of authenticity and security that consumers have

come to associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,



                                                 5
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 13 of 36 PageID #:126




MasterCard®, and PayPal® logos. Id. Plaintiff has not licensed or authorized Defendants to use

its Luke Combs Trademarks, and none of the Defendants are authorized retailers of genuine Luke

Combs Products. Id.

               ii. Defendants Illegitimately Optimize the Defendant Internet Stores for Search
                   Engines

       Upon information and belief, Defendants also deceive unknowing consumers by using the

Luke Combs Trademarks without authorization within the content, text, and/or meta tags of their

webstores in order to attract various search engines crawling the internet looking for websites

relevant to consumer searches for Luke Combs Products. Id. at ¶ 13. Additionally, upon

information and belief, Defendants use other unauthorized search engine optimization (SEO)

tactics and social media spamming so that the Defendant Internet Stores listings show up at or near

the top of relevant search results and misdirect consumers searching for genuine Luke Combs

Products. Id. Further, Defendants utilize similar illegitimate SEO tactics to propel new Defendant

Internet Stores to the top of search results after others are shut down. Id. As such, Plaintiff also

seeks to disable Defendant Internet Stores owned by Defendants that are the means by which the

Defendants could continue to sell Counterfeit Luke Combs Products.

               iii. Defendants Use Fictitious Aliases and Common Tactics to Evade Shut Down

       Defendants go to great lengths to conceal their identities and often use multiple fictitious

names and addresses to register and operate their network of Defendant Internet Stores. Id. at ¶ 14.

Upon information and belief, Defendants regularly create new online marketplace accounts on

various platforms using the identities listed in Schedule A to the Complaint, as well as other

unknown fictitious names and addresses. Id. Such Defendant Internet Store registration patterns

are one of many common tactics used by the Defendants to conceal their identities, the full scope

and interworking of their counterfeiting operation, and to avoid being shut down. Id.

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   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 14 of 36 PageID #:127




       Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. Id. at ¶ 15. For example, many of the Defendant

stores have virtually identical layouts, even though different aliases were used to register the

respective Defendant Internet Stores. Id. In addition, Counterfeit Luke Combs Products for sale in

the Defendant Internet Stores bear similar indicia of being counterfeit to one another, suggesting

that the Counterfeit Luke Combs Products were manufactured by and come from a common source

and that, upon information and belief, Defendants are interrelated. Id. The Defendant Internet

Stores also include other notable common features, including use of the same store name

registration patterns, unique shopping cart platforms, accepted payment methods, check-out

methods, metadata, illegitimate SEO tactics, HTML user-defined variables, lack of contact

information, identically or similarly priced items and volume sales discounts, the same incorrect

grammar and misspellings, similar hosting services, similar name servers, and the use of the same

text and images. Id.

       In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. Id. at ¶ 16. See also, Vogt Declaration at ¶ 4. For example,

counterfeiters like Defendants will often register new online marketplace accounts under new

aliases once they receive notice of a lawsuit. Id.

       Further, counterfeiters such as Defendants, typically operate multiple credit card merchant

accounts as well as Amazon and PayPal or similar accounts behind layers of payment gateways so

that they can continue operation. Kappy Declaration at ¶ 17. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their accounts to off-

shore bank accounts outside the jurisdiction of this Court. Id. See also, Vogt Declaration at ¶ 6.

Indeed, analysis of transaction logs from similar cases brought by other trademark owners

                                                     7
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 15 of 36 PageID #:128




indicates that off-shore counterfeiters regularly move funds from their U.S. accounts to China-

based bank accounts outside the jurisdiction of this Court. Vogt Declaration at ¶ 8.

       Plaintiff’s well-pleaded allegations regarding registration patterns, similarities among the

Defendant Internet Stores and the Counterfeit Luke Combs Products for sale thereon, and common

tactics employed to evade enforcement establish a logical relationship among the Defendants

suggesting that Defendants are an interrelated group of counterfeiters. Upon information and

belief, Defendants are working in active concert to knowingly and willfully manufacture, import,

distribute, offer for sale, and sell products in connection with counterfeit versions of the Luke

Combs Trademarks in the same transaction, occurrence, or series of transactions or occurrences.

As indicated above, the tactics used by Defendants to conceal their identities and the full scope of

their counterfeiting operation make it virtually impossible for Plaintiff to discover the true

identities of the Defendants, the exact interworking of the Defendants’ counterfeit network, and

the relationship among Defendants. In the event that Defendants provide additional credible

information regarding their identities, Plaintiff will take appropriate steps to amend the Complaint.

III.   ARGUMENT

       Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to

cause irreparable harm to Plaintiff’s reputation and the goodwill symbolized by the Luke Combs

Trademarks. To stop Defendants’ sale of Counterfeit Luke Combs Products, Plaintiff respectfully

requests that this Court issue a temporary restraining order. Without the relief requested by

Plaintiff’s instant Motion, Defendants’ unlawful activity will continue unabated, and Plaintiff and

consumers will suffer irreparable harm.

       Rule 65(b) of the Federal Rules of Civil Procedure provides that the Court may issue an ex

parte temporary restraining order where immediate and irreparable injury, loss, or damage will

result to the applicant before the adverse party or that party's attorney can be heard in opposition.
                                                 8
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 16 of 36 PageID #:129




Fed. R. Civ. P. 65(b). The Defendants here fraudulently promote, advertise, offer to sell, and sell

goods in connection with counterfeits of the Luke Combs Trademarks via the Defendant Internet

Stores. Defendants are creating a false association in the minds of consumers between the

Defendants and Plaintiff by deceiving consumers into believing that the Counterfeit Luke Combs

Products for sale on Defendants’ Internet Stores are sponsored or endorsed by Plaintiff. The entry

of a temporary restraining order is appropriate because it would immediately stop the Defendants

from benefiting from their wrongful use of the Luke Combs Trademarks and preserve the status

quo until such time as a hearing can be held.

       In the absence of a temporary restraining order without notice, the Defendants can and

likely will modify registration data and content, change hosts, redirect traffic to other webstores in

their control, and move any assets from U.S.-based accounts to offshore accounts outside the

jurisdiction of this Court. Courts have recognized that civil actions against counterfeiters present

special challenges that justify proceeding on an ex parte basis. See Columbia Pictures Indus., Inc.

v. Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill. 1996) (observing that “proceedings against those who

deliberately traffic in infringing merchandise are often useless if notice is given to the infringers”).

As such, Plaintiff respectfully requests that this Court issue the requested ex parte temporary

restraining order. This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. §§ 1338(a)-(b),

and 28 U.S.C. § 1331. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

         A. This Court May Exercise Personal Jurisdiction Over Defendants

        This Court may properly exercise personal jurisdiction over Defendants since Defendants

directly target business activities toward consumers in the United States, including Illinois, by

directly offering for sale products into this judicial district as well as through at least the fully

interactive, commercial Defendant Internet Stores. Specifically, Defendants are reaching out to do

                                                   9
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 17 of 36 PageID #:130




business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products bearing counterfeit versions

of the Luke Combs Trademarks. Each Defendant has targeted sales from Illinois residents by

operating internet stores that offer shipping to the United States, including Illinois, and has offered

to sell, and on information and belief, has sold and continues to sell Counterfeit Luke Combs

Products to consumers within the United States, including the State of Illinois. See Complaint [1]

at ¶¶ 2, 17-18. Without the benefit of an evidentiary hearing, plaintiff bears only the burden of

making a prima facie case for personal jurisdiction; all of plaintiff's asserted facts should be

accepted as true and any factual determinations should be resolved in its favor. See uBID, Inc. v.

GoDaddy Group, Inc. 623 F.3d 421, 423 (7th Cir. 2010); see also, Purdue Research Found. v.

Sanofi-Sythelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003) (“When determining whether a plaintiff

has met his burden, jurisdictional allegations pleaded in the complaint are accepted as true unless

proved otherwise by defendants' affidavits or exhibits.”).

       Illinois courts regularly exercise personal jurisdiction over websites using registered

trademark(s) without authorization in connection with the offering for sale and selling of infringing

and counterfeit merchandise to Illinois residents over the Internet. 735 ILCS 5/2-209(a)(2).

Recently the Seventh Circuit concluded that personal jurisdiction is proper when a defendant

purposefully directs its actions to Illinois via third-party online retailers, such as Amazon.com.

NBA Properties, Inc. v. HANWJH, No. 21-2909, 2022 WL 3367823, at *7 (7th Cir. Aug. 16, 2022)

(“[Defendant’s] actions certainly can be characterized as purposeful. It established an online store,

using a third-party retailer, Amazon.com. Through this online store, it unequivocally asserted a

willingness to ship goods to Illinois and established the capacity to do so.”); see also e.g., Curry

v. Revolution Labs., LLC, 949 F.3d 385, 399 (7th Cir. 2020); Tommy Hilfiger Licensing LLC, et



                                                  10
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 18 of 36 PageID #:131




al. v. calvinklein.us.org, et al., No. 20-cv-07477 at [46] (N.D. Ill. March. 24, 2021); Mori Lee v.

Lei Liu et al., No. 19-cv-07555 at [60] (N.D. Ill. May 14, 2020).

       Through at least the fully interactive commercial internet websites operating under the

Defendant Internet Stores and the marketplace listings operated using the online marketplace

accounts, each of the Defendants has targeted sales from Illinois residents by offering shipping to

the United States, including Illinois, and, on information and belief, has sold or offered to sell

Counterfeit Luke Combs Products to residents of the United States, including Illinois. Each of the

Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and has

wrongfully caused Plaintiff substantial injury in the State of Illinois.

        B. Standard for Temporary Restraining Order and Preliminary Injunction

       District Courts within this Circuit hold that the standard for granting a temporary

restraining order and the standard for granting a preliminary injunction are identical. See, e.g.

Charter Nat’l Bank & Trust v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, *1

(N.D. Ill. May 15, 2001) (citation omitted). A party seeking to obtain a preliminary injunction

must demonstrate: (1) that its case has some likelihood of success on the merits; (2) that no

adequate remedy at law exists; and (3) that it will suffer irreparable harm if the injunction is not

granted. See Ty, Inc. v. The Jones Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001).

       If the Court is satisfied that these three conditions have been met, then it must consider the

harm that the nonmoving party will suffer if preliminary relief is granted, balancing such harm

against the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the Court

must consider the potential effect on the public interest (non-parties) in denying or granting the

injunction. Id. The Court then weighs all of these factors, “sitting as would a chancellor in equity,”

when it decides whether to grant the injunction. Id. (quoting Abbott Labs. v. Mead Johnson & Co.,

971 F.2d 6, 11 (7th Cir. 1992)). This process involves engaging in what the Court has deemed “the
                                                  11
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 19 of 36 PageID #:132




sliding scale approach” – the more likely the plaintiff will succeed on the merits, the less the

balance of harms need favor the plaintiff's position. Id. The sliding scale approach is not

mathematical in nature, rather “it is more properly characterized as subjective and intuitive, one

which permits district courts to weigh the competing considerations and mold appropriate relief.”

Id. at 895-896. The greater the movant's likelihood of succeeding on the merits, the less the

balancing of harms need be in his favor. See Eli Lilly & Co. v. Natural Answers, Inc., 233 F.3d

456, 461 (7th Cir. 2000).

        C. Plaintiff Will Likely Succeed on the Merits

               i. Plaintiff Will Likely Succeed on Plaintiff’s Trademark Infringement and
                  Counterfeiting Claim

       A defendant is liable for trademark infringement and counterfeiting under the Lanham Act

if it, “without the consent of the registrant, uses in commerce any reproduction, copy, or colorable

imitation of a registered mark in connection with the sale, offering for sale, distribution, or

advertising of any goods … which such use[s] is likely to cause confusion, or to cause mistake, or

to deceive.” 15 U.S.C. § 1114(1). To prove a prima facie case of infringement, a plaintiff must

show (1) its mark is distinctive enough to be worthy of protection; (2) Defendants are not

authorized to use the trademark; and (3) Defendants’ use of the trademark causes a likelihood of

confusion as to the origin or sponsorship of Defendants’ products. See Neopost Industries B.V. v.

PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citation omitted). Plaintiff satisfies all

three requirements of the Lanham Act to successfully bring a trademark infringement and

counterfeiting claim.

       Regarding the first two elements, Plaintiff’s Luke Combs Trademarks are inherently

distinctive and are registered with the United States Patent and Trademark Office on the Principal

Register. The Luke Combs Trademarks have been continuously used. Kappy Declaration at ¶¶ 5-


                                                 12
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 20 of 36 PageID #:133




9. The registrations for the Luke Combs Trademarks are valid, subsisting, and in full force and

effect. Id. The registrations for the Luke Combs Trademarks constitute prima facie evidence of

their validity and of Plaintiff’s exclusive right to use the Luke Combs Trademarks pursuant to 15

U.S.C. § 1057(b). Furthermore, Plaintiff has not licensed or authorized Defendants to use the Luke

Combs Trademarks, and none of the Defendants are authorized retailers of genuine Luke Combs

Products. See id. at ¶ 11.

       Plaintiff satisfies the third factor, as well. Some courts do not undertake a factor-by-factor

analysis under Polaroid Corp. v. Polarad Electronics Corp., 287 F.2d 492, 495 (2d Cir. 1961)

because counterfeits, by their very nature, cause confusion. See Topps Co., Inc. v. Gerrit J. Verburg

Co., 41 U.S.P.Q.2d 1412, 1417 (S.D.N.Y.1996) ("Where the marks are identical, and the goods

are also identical and directly competitive, the decision can be made directly without a more formal

and complete discussion of all of the Polaroid factors."); Polo Fashions, Inc. v. Craftex, Inc., 816

F.2d 145, 148 (4th Cir. 1987) ("Where, as here, one produces counterfeit goods in an apparent

attempt to capitalize upon the popularity of, and demand for, another's product, there is a

presumption of a likelihood of confusion.").

       The Seventh Circuit, however, has enumerated seven factors to determine whether there is

a likelihood of confusion: (1) similarity between the marks in appearance and suggestion; (2)

similarity of the products; (3) area and manner of concurrent use; (4) degree of care likely to be

exercised by consumers; (5) strength of complainant's mark; (6) actual confusion; and, (7) intent

of the defendants to palm off their products as that of another. Eli Lilly, 233 F.3d at 461-462

(citation omitted). These factors are not a mechanical checklist, and “[t]he proper weight given to

each of [the] factors will vary from case to case.” Dorr-Oliver, Inc. v. Fluid-Quip, Inc., 94 F.3d

376, 381 (7th Cir. 1996). At the same time, although no one factor is decisive, the similarity of the



                                                 13
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 21 of 36 PageID #:134




marks, the intent of the defendant, and evidence of actual confusion are the most important

considerations. G. Heileman Brewing Co., Inc. v. Anheuser-Busch, Inc., 873 F.2d 985, 999 (7th

Cir. 1989).

        In this case, Plaintiff plainly satisfies the likelihood of confusion test. The Defendants are

selling Counterfeit Luke Combs Products using counterfeit marks identical to the Luke Combs

Trademarks. As such, the first and second likelihood of confusion factors weigh heavily in favor

of Plaintiff.

        Plaintiff also satisfies the third factor, namely, the area and manner of concurrent use.

When considering the third factor, a court looks at “whether there is a relationship in use,

promotion, distribution or sales between the goods or services of the parties.” CAE, Inc. v. Clean

Air Eng’g Inc., 267 F.3d 660, 681 (7th Cir. 2001). A court also looks to whether the parties used

the same channels of commerce, targeted the same general audience, and/or used similar marketing

procedures. Id. Here, both Plaintiff and Defendants show the same products using the Luke Combs

Trademarks to the same consumers. See Exhibit 2 to the Kappy Declaration. Thus, because

Defendants target the same consumers as Plaintiff, this factor also weighs in favor of Plaintiff.

        Regarding the fourth factor, degree of consumer care, potential consumers purchasing Luke

Combs Products are not restricted to a certain specialized, sophisticated group of people. Rather,

the consumer base is a diverse group of people. “[W]hen a buyer class is mixed, the standard of

care to be exercised by the reasonably prudent purchaser will be equal to that of the least

sophisticated consumer in the class.” Trans Union LLC v. Credit Research, Inc., 142 F. Supp. 2d

1029, 1043 (N.D. Ill. 2001) (citation omitted). As such, Luke Combs brand consumers are very

likely to be confused, so this factor favors Plaintiff.




                                                  14
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 22 of 36 PageID #:135




       Due to their long-standing use and wide acceptance by the public, the Luke Combs

Trademarks have become associated with high quality Luke Combs Products. The Luke Combs

Trademarks are distinctive when applied to the Luke Combs Products. The marks signify to

consumers that the products come from Plaintiff and are manufactured to high quality standards.

Thus, the fifth factor, the strength of the marks, also weighs heavily in favor of Plaintiff.

       As for the sixth factor, Plaintiff does not need to prove likelihood of confusion with

evidence of actual confusion; instead, it merely needs to show some evidence of potential

confusion. See Libman Co. v. Vining Indus., Inc., 69 F.3d 1360, 1363 (7th Cir.1995); see also

Sands, Taylor & Wood Co. v. Quaker Oats Co., 978 F.2d 947, 960 (7th Cir. 1992) (the Seventh

Circuit has consistently found that “plaintiff need not show actual confusion in order to establish

likelihood of confusion.”). In this case, actual confusion can be inferred because Defendants are

selling Counterfeit Luke Combs Products in connection with the Luke Combs Trademarks.

Because the goods are similar and have identical and similar uses, consumers will be confused and

think that Defendants’ products are genuine Luke Combs Products or are sponsored or endorsed

by Plaintiff. This factor weighs in favor of Plaintiff.

       Regarding the seventh and final factor, Defendants are intentionally using the Luke Combs

Trademarks to confuse and deceive the consuming public into thinking that Defendants’

Counterfeit Luke Combs Products are manufactured by or emanate from Plaintiff. Defendants are

purposefully attempting to benefit and trade off Plaintiff’s goodwill and reputation. Therefore, the

final factor regarding Defendants’ intent also weighs heavily in Plaintiff’s favor.

       In sum, each of the seven likelihood of confusion factors weighs heavily in favor of

Plaintiff, and, therefore, Plaintiff has proved that it has a reasonable likelihood of success on the

merits for its trademark infringement and counterfeiting claim.



                                                  15
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 23 of 36 PageID #:136




               ii. Plaintiff is Likely to Succeed on Plaintiff’s False Designation of Origin Claim

       A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a) must

show that: (1) the plaintiff has a protectable trademark; and (2) a likelihood of confusion will exist

as to the origin of plaintiff’s products. All Star Championship Racing, Inc. v. O’Reilly Auto. Stores,

Inc., 2013 WL 1701871, *10 (C.D. Ill. Apr. 18, 2013) (citing Johnny Blastoff, Inc. v. Los Angeles

Rams Football Co., 188 F. 3d 427, 436 (7th Cir. 1999)). This is the same test that is used for

determining whether trademark infringement has occurred under the Lanham Act. See Neopost,

403 F. Supp. 2d at 684. Because the Luke Combs Trademarks are registered marks, and Plaintiff

has established a likelihood of success on the merits of its trademark infringement and

counterfeiting claim against Defendants (supra), a likelihood of success on the merits for

Plaintiff’s false designation of origin claim is also established.

        D. There is No Adequate Remedy at Law and Plaintiff Will Suffer Irreparable
           Harm in the Absence of Preliminary Relief

       On December 27, 2020, Congress passed the Trademark Modernization Act of 2020

(codified as part of the Consolidated Appropriations Act, 2021, Pub. L. 116-260). The Act, inter

alia, amended the text of 15 U.S.C. § 1116(a) codified a rebuttable presumption of irreparable

harm which, as amended, now reads in relevant part:

           The several courts vested with jurisdiction of civil actions arising under this
           chapter shall have power to grant injunctions, according to the principles of
           equity and upon such terms as the court may deem reasonable, to prevent the
           violation of any right of the registrant of a mark registered in the Patent and
           Trademark Office or to prevent a violation under subsection (a), (c), or (d) of
           section 1125 of this title. A plaintiff seeking any such injunction shall be
           entitled to a rebuttable presumption of irreparable harm upon a finding of
           a violation identified in this subsection in the case of a motion for a
           permanent injunction or upon a finding of likelihood of success on the
           merits for a violation identified in this subsection in the case of a motion
           for a preliminary injunction or temporary restraining order.




                                                  16
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 24 of 36 PageID #:137




See Vineyard House, LLC v. Constellation Brands United States Operations, Inc., No. 4:19-cv-

01424-YGR, 2021 U.S. Dist. LEXIS 15702, at *36-37 n.16 (N.D. Cal. Jan. 26, 2021).

Additionally, the Seventh Circuit has “clearly and repeatedly held that damage to a trademark

holder's goodwill can constitute irreparable injury for which the trademark owner has no adequate

legal remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly

& Co. v. Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir. 2000)); Meridian Mut. Ins. Co. v.

Meridian Ins. Group, Inc., 128 F.3d 1111, 1114 (7th Cir. 1997); Wesley–Jessen Division of

Schering Corp. v. Bausch & Lomb Inc., 698 F.2d 862, 867 (7th Cir.1983). Irreparable injury

“almost inevitably follows” when there is a high probability of confusion because such injury “may

not be fully compensable in damages.” Helene Curtis Industries, Inc. v. Church & Dwight Co.,

Inc., 560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and irreparable

harm attributable to trademark infringement is the inability of the victim to control the nature and

quality of the defendants’ goods.” Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d

1079, 1092 (7th Cir. 1988); see also 4 Callmann on Unfair Competition, Trademarks and

Monopolies § 88.3(b) at 205 (3d ed. 1970). As such, monetary damages are likely to be inadequate

compensation for such harm. Ideal Indus., Inc. v. Gardner Bender, Inc., 612 F.2d 1018, 1026 (7th

Cir. 1979).

       Defendants’ unauthorized use of the Luke Combs Trademarks has harmed and continues

to irreparably harm Plaintiff through diminished goodwill and brand confidence, damage to

Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Kappy Declaration at ¶¶ 18-22.

       The extent of the harm to Plaintiff’s reputation and goodwill and the possible diversion of

customers due to loss in brand confidence are both irreparable and incalculable, thus warranting

an immediate halt to Defendants’ infringing activities through injunctive relief. See Promatek



                                                 17
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 25 of 36 PageID #:138




Industries, Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002) (Finding that damage to

plaintiff’s goodwill was irreparable harm for which plaintiff had no adequate remedy at law);

Gateway Eastern Railway Co. v. Terminal Railroad Assoc. of St. Louis, 35 F.3d 1134, 1140 (7th

Cir. 1994) (“[S]howing injury to goodwill can constitute irreparable harm that is not compensable

by an award of money damages.”). Plaintiff will suffer immediate and irreparable injury, loss, or

damage if an ex parte Temporary Restraining Order is not issued in accordance with Federal Rule

of Civil Procedure 65(b)(1). Kappy Declaration at ¶ 23. As such, Plaintiff should be granted

preliminary relief.

         E. The Balancing of Harms Tips in Plaintiff’s Favor

        As noted above, if the Court is satisfied that Plaintiff has demonstrated (1) a likelihood of

success on the merits, (2) no adequate remedy at law, and (3) the threat of irreparable harm if

preliminary relief is not granted, then it must next consider the harm that Defendants will suffer if

preliminary relief is granted, balancing such harm against the irreparable harm Plaintiff will suffer

if relief is denied. Ty, Inc., 237 F.3d at 895.

        As willful infringers, Defendants are entitled to little equitable consideration. “When

considering the balance of hardships between the parties in infringement cases, courts generally

favor the trademark owner.” Krause Int’l Inc. v. Reed Elsevier, Inc., 866 F. Supp. 585, 587-88

(D.D.C. 1994). This is because “[o]ne who adopts the marks of another for similar goods acts at

his own peril since he has no claim to the profits or advantages thereby derived.” Burger King

Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla. 1992) (internal quotation marks omitted).

Therefore, the balance of harms “cannot favor a defendant whose injury results from the knowing

infringement of the plaintiff's trademark.” Malarkey-Taylor Assocs., Inc. v. Cellular Telecomms.

Indus. Ass’n, 929 F. Supp. 473, 478 (D.D.C. 1996).



                                                  18
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 26 of 36 PageID #:139




       As Plaintiff has demonstrated, Defendants have been profiting from the sale of Counterfeit

Luke Combs Products. Thus, the balance of equities tips decisively in Plaintiff’s favor. As such,

equity requires that Defendants be ordered to cease their unlawful conduct.

        F. Issuance of the Injunction is in the Public Interest

       An injunction in these circumstances is in the public interest because it will prevent

consumer confusion and stop Defendants from violating federal trademark law. The public is

currently under the false impression that Defendants are operating their Defendant Internet Stores

with Plaintiff’s approval and endorsement. An injunction serves the public interest in this case

“because enforcement of the trademark laws prevents consumer confusion.” Eli Lilly, 233 F.3d at

469.

       Federal courts have long held that “the trademark laws ... are concerned not alone with the

protection of a property right existing in an individual, but also with the protection of the public

from fraud and deceit.” Stahly, Inc. v. M.H. Jacobs Co., 183 F.2d 914, 917 (7th Cir. 1950) (citations

omitted). The public interest is further served by protecting “the synonymous right of a trademark

owner to control his product's reputation.” James Burrough Ltd. v. Sign of the Beefeater, Inc., 540

F.2d 266, 274 (7th Cir. 1976); see also Shashi, Inc. v. Ramada Worldwide, Inc., No. 7:05-cv-

00016-JGW-mfu, 2005 WL 552593, *4 (W.D. Va. Mar. 1, 2005) (“It is in the best interest of the

public for the court to defend the integrity of the intellectual property system and to prevent

consumer confusion”).

       In this case, the injury to the public is significant, and the injunctive relief that Plaintiff

seeks is specifically intended to remedy that injury by dispelling the public confusion created by

Defendants’ actions. The public has the right not to be confused and defrauded as to the source of

the goods and services offered by Defendants, or as to the identity of the owner of trademarks and

service marks used in connection with those goods and services. Unless Defendants’ unauthorized
                                                 19
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 27 of 36 PageID #:140




use of the Luke Combs Trademarks is enjoined, the public will continue to be confused and misled

by Defendants’ conduct.

       For these reasons, it is respectfully submitted that granting Plaintiff’s Motion for Entry of

a Temporary Restraining Order is in the public interest.

IV.    THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       In addition to this Court’s inherent authority to issue injunctive relief, the Lanham Act

authorizes courts to issue injunctive relief “according to the principles of equity and upon such

terms as the court may deem reasonable, to prevent the violation of any right of the registrant of a

mark ….” 15 U.S.C. § 1116(a). Furthermore, Rule 65(b) of the Federal Rules of Civil Procedure

provides that a court may issue a temporary restraining order without notice where facts show that

the movant will suffer immediate and irreparable injury, loss, or damage before the adverse party

can be heard in opposition. Moreover, under Federal Rule of Civil Procedure 65(d)(2)(C), this

Court has the power to bind any third parties, such as financial institutions, who are in active

concert with the Defendants or who aid and abet Defendants and are given actual notice of the

order. Fed. R. Civ. P. 65. The facts in this case warrant such relief.

        A.     A Temporary Restraining Order Immediately Enjoining Defendants’
               Unauthorized and Unlawful Use of Plaintiff’s Mark is Appropriate

       Plaintiff requests a temporary injunction requiring the Defendants to immediately cease all

use of the Luke Combs Trademarks or substantially similar marks on or in connection with all

Defendant Internet Stores. Such relief is necessary to stop the ongoing harm to the Luke Combs

Trademarks and associated goodwill, as well as harm to consumers, and to prevent the Defendants

from continuing to benefit from their unauthorized use of the Luke Combs Trademarks.

       The need for ex parte relief is magnified in today’s global economy where counterfeiters

can operate over the internet in an anonymous fashion. Plaintiff is currently unaware of both the


                                                 20
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 28 of 36 PageID #:141




true identities and locations of the Defendants, as well as other Defendant Internet Stores used to

distribute Counterfeit Luke Combs Products.

       Many courts have authorized immediate injunctive relief in similar cases involving the

unauthorized use of trademark(s) and counterfeiting. See, e.g., Toho Co., Ltd. v. The Partnerships

and Unincorporated Associations Identified on Schedule “A”, No. 23-cv-03744 (N.D. Ill. June 21,

2023) and Luke Combs v. The Partnerships and Unincorporated Associations Identified on

Schedule A, No. 21-cv-03332 (N.D. Ill. Aug. 20, 2021) (granting Temporary Restraining Order).

        B. Preventing the Fraudulent Transfer of Assets is Appropriate

       Plaintiff requests an ex parte restraint of Defendants’ assets so that Plaintiff’s right to an

equitable accounting of Defendants’ profits from sales of Counterfeit Luke Combs Products is not

impaired. Issuing an ex parte restraint will ensure Defendants’ compliance. If such a restraint is

not granted in this case, Defendants may disregard their responsibilities and fraudulently transfer

financial assets to overseas accounts before a restraint is ordered. Specifically, upon information

and belief, the Defendants in this case hold most of their assets in China, making it easy to hide or

dispose of assets, which will render an accounting by Plaintiff meaningless.

       Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

709 (5th Cir. 2007); Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 987 (11th Cir.

1995); Reebok Int'l Ltd. v. Marnatech Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992). In addition,

Plaintiff has shown a strong likelihood of succeeding on the merits of its trademark infringement

and counterfeiting claim, so according to the Lanham Act 15 U.S.C. § 1117(a)(1), Plaintiff is

entitled, “subject to the principles of equity, to recover ... defendant’s profits.” Plaintiff’s

Complaint seeks, among other relief, that Defendants account for and pay to Plaintiff all profits

realized by Defendants by reason of Defendants’ unlawful acts. Therefore, this Court has the
                                                 21
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 29 of 36 PageID #:142




inherent equitable authority to grant Plaintiff’s request for a prejudgment asset freeze to preserve

the relief sought by Plaintiff.

        The Northern District of Illinois in Lorillard Tobacco Co. v. Montrose Wholesale Candies

entered an asset restraining order in a trademark infringement case brought by a tobacco company

against owners of a store selling counterfeit cigarettes. Lorillard, 2005 WL 3115892, at *13 (N.D.

Ill. Nov. 8, 2005). The Court, citing Grupo Mexicano de Desarollo, S.A. v. Aliance Bond Fund,

527 U.S. 308 (1999), recognized that it was explicitly allowed to issue a restraint on assets for

lawsuits seeking equitable relief. Id. (citing Grupo Mexicano, 527 U.S. at 325 (citing Deckert v.

Independence Shares Corp., 311 U.S. 282 (1940)). Because the tobacco company sought a

disgorgement of the storeowner’s profits, an equitable remedy, the Court found that it had the

authority to freeze the storeowner’s assets. Id.; see also Animale Grp. Inc. v. Sunny’s Perfume Inc.,

256 F. App’x 707, 709 (5th Cir. 2007); Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51 F.3d

982, 987 (11th Cir. 1995); Reebok Int'l Ltd. v. Marnatech Enters., Inc., 970 F.2d 552, 559 (9th Cir.

1992); CSC Holdings, Inc. v. Redisi, 309 F.3d 988 (7th Cir. 2002) (“since the assets in question ...

were the profits of the [defendants] made by unlawfully stealing [the plaintiffs’] services, the

freeze was appropriate and may remain in place pending final disposition of this case.”); accord 5

J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition § 30:40 (4th ed. 2013).

In addition, courts in this district and across the country regularly issue asset-restraining orders for

entire financial accounts in cases involving the sale of counterfeit products. See, e.g., Toho Co.,

Ltd. v. The Partnerships and Unincorporated Associations Identified on Schedule “A”, No. 23-

cv-03744 (N.D. Ill. June 21, 2023) and Luke Combs v. The Partnerships and Unincorporated

Associations Identified on Schedule A, No. 21-cv-03332 (N.D. Ill. Aug. 20, 2021) (granting

Temporary Restraining Order).



                                                  22
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 30 of 36 PageID #:143




       Plaintiff has shown a likelihood of success on the merits, an immediate and irreparable

harm suffered as a result of Defendants’ activities, and that, unless Defendants’ assets are frozen,

Defendants will likely hide or move their ill-gotten funds to offshore bank accounts. Accordingly,

the granting of an injunction preventing the transfer of Defendants’ assets is proper.

        C. Plaintiff is Entitled to Expedited Discovery

       The Supreme Court has held that “federal courts have the power to order, at their discretion,

the discovery of facts necessary to ascertain their competency to entertain the merits.” Vance v.

Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007) (quoting

Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380 (1978)). A district court

has wide latitude in determining whether to grant a party's request for discovery. Id. (citation

omitted). Furthermore, courts have broad power over discovery and may permit discovery in order

to aid in the identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2); Gillespie v.

Civiletti, 629 F.2d 637, 642 (9th Cir. 1980).

       As described above, Defendants are using third-party payment processors such as Visa®,

PayPal®, and Western Union®, which helps to increase their anonymity by interposing a third

party between the consumer and Defendants. Without being able to discover Defendants’ bank

and payment system accounts, any asset restraint would be of limited value because Plaintiff would

not know the entities upon whom to serve the order.

       Plaintiff respectfully requests expedited discovery to discover bank and payment system

accounts Defendants use for their counterfeit sales operations. The discovery requested on an

expedited basis in Plaintiff’s Proposed Temporary Restraining Order has been limited to include

only what is essential to prevent further irreparable harm. Discovery of these financial accounts so

that they can be frozen is necessary to ensure that these activities will be contained.



                                                 23
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 31 of 36 PageID #:144




       Under Federal Rule of Civil Procedure 65(d)(2)(C), this Court has the power to bind any

third party who is in active concert with the Defendants that is given notice of the order to provide

expedited discovery in this action. Fed. R. Civ. P. 65(d)(2)(C). Plaintiff’s counsel is aware that the

same third parties, in previous lawsuits, have worked with trademark owners and is not aware of

any reason that Defendants or third parties cannot comply with these expedited discovery requests

without undue burden. Further, all relevant third parties have in fact complied with identical

requests in previous similar cases. More importantly, as Defendants have engaged in many

deceptive practices in hiding their identities and accounts, Plaintiff’s seizure and asset restraint in

the Temporary Restraining Order may have little meaningful effect without the requested relief.

Accordingly, Plaintiff respectfully requests that expedited discovery be granted.

        D. Service of Process by E-mail and/or Electronic Publication is Warranted in this
           Case

       Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff requests this Court’s

authorization to serve process by electronically publishing a link to the Complaint, the Temporary

Restraining Order, and other relevant documents on a website, and/or by sending an e-mail to the

e-mail addresses identified in Exhibit 2 to the Kappy Declaration and any e-mail addresses

provided for Defendants by third parties that includes a link to said website. Plaintiff submits that

providing notice via electronic publication and/or e-mail, along with any notice that Defendants

receive from online marketplaces and payment processors, is reasonably calculated under all

circumstances to apprise Defendants of the pendency of the action and afford them the opportunity

to present their objections.

       Electronic service is appropriate and necessary in this case because the Defendants, on

information and belief: (1) have provided false names and physical address information in their

registrations for the Defendant Marketplaces accounts in order to conceal their locations and avoid


                                                  24
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 32 of 36 PageID #:145




liability for their unlawful conduct; and (2) rely primarily on electronic communications to

communicate with their registrars and customers, demonstrating the reliability of this method of

communication by which the registrants of the Defendant Internet Stores may be apprised of the

pendency of this action. Authorizing service of process solely via e-mail and/or electronic

publication will benefit all parties and the Court by ensuring that Defendants receive prompt notice

of this action, thus allowing this action to move forward expeditiously. Absent the ability to serve

Defendants in this manner, Plaintiff will almost certainly be left without the ability to pursue a

final judgment.

       Despite providing false physical addresses, the registrants of the Defendant Internet Stores

must generally provide an accurate e-mail address so that their Marketplaces may communicate

with them regarding issues related to the purchase, transfer, and maintenance of the various

accounts. Likewise, online marketplace account operators accepting PayPal, or similar accounts,

must provide a valid email address to customers for completing payment. Moreover, it is necessary

for merchants, such as the registrants of the Defendant Internet Stores, who operate entirely online,

to visit their internet store to ensure it is functioning and to communicate with customers

electronically. As such, it is far more likely that Defendants can be served electronically than

through traditional service of process methods.

       Federal Rule of Civil Procedure 4(f)(3) allows this Court to authorize service of process by

any means not prohibited by international agreement as the Court directs. Rio Props., Inc. v. Rio

Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). The Ninth Circuit in Rio Properties held,

“without hesitation,” that e-mail service of an online business defendant “was constitutionally

acceptable.” Id. at 1017. The Court reached this conclusion, in part, because the defendant




                                                  25
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 33 of 36 PageID #:146




conducted its business over the Internet, used e-mail regularly in its business, and encouraged

parties to contact it via e-mail. Id.

        Similarly, a number of Courts, including the Northern District of Illinois, have held that

alternate forms of service pursuant to Rule 4(f)(3), including e-mail service, are appropriate and

may be the only means of effecting service of process “when faced with an international e-business

scofflaw.” Id. at 1018; see also, MacLean-Fogg Co. v. Ningbo Fastlink Equip. Co., Ltd., No. 1:08-

cv-02593, 2008 WL 5100414, *2 (N.D. Ill. Dec. 1, 2008) (holding e-mail and facsimile service

appropriate); Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 563 (E.D.

Tenn. 2004) (quoting Rio, 284 F.3d at 1018) (allowing e-mail service); see also Juniper Networks,

Inc. v. Bahattab, No. 1:07-cv-01771-PLF-AK, 2008 WL 250584, *1-2, (D.D.C. Jan. 30, 2008)

(citing Rio, 284 F.3d at 1017-1018; other citations omitted) (holding that “in certain circumstances

... service of process via electronic mail ... is appropriate and may be authorized by the Court under

Rule 4(f)(3) of the Federal Rules of Civil Procedure”).

        Plaintiff submits that allowing service solely by e-mail and/or electronic publication in the

present case is appropriate and comports with constitutional notions of due process, particularly

given the decision by the registrants of the Defendant Internet Stores to conduct their internet-

based activities anonymously.

        Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio Props. v. Rio Intern. Interlink, 284 F.3d 1007, 1014-15 (9th Cir. 2002). As the Rio

Properties Court explained, Rule 4(f) does not create a hierarchy of preferred methods of service

of process. Id. at 1014. To the contrary, the plain language of the Rule requires only that service

be directed by the court and not be prohibited by international agreement. There are no other



                                                 26
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 34 of 36 PageID #:147




limitations or requirements. Id. Alternative service under Rule 4(f)(3) is neither a “last resort” nor

“extraordinary relief,” but is rather one means among several by which an international defendant

may be served. Id. As such, this Court may allow Plaintiff to serve the defendants via electronic

publication and/or e-mail. See Monco v. Zoltek Corp., 2018 WL 3190817, at *4 (N.D. Ill. Apr. 24,

2018); Strabala v. Zhang, 318 F.R.D. 81, 115 (N.D. Ill. 2016); See also Hangzhou Chic Intelligent

Technology Co. et al., v. The Partnerships and Unincorporated Associations Identified on

Schedule A, 20-cv-04806 (N.D. Ill. April 1, 2021) (finding Hague Convention service is optional

under Federal Rule of Civil Procedure 4.).

        Additionally, Plaintiff is unable to determine the exact physical whereabouts or identities

of the registrants of the Defendant Internet Stores due to their provision of false and incomplete

street addresses. Plaintiff does, however, has good cause to suspect the registrants of the respective

Defendant Internet Stores are residents of China. The United States and the People’s Republic of

China are both signatories to the Hague Convention on the Service Abroad of Judicial and Extra

Judicial Documents in Civil and Commercial Matters (the “Hague Convention”). Vogt Declaration

at ¶¶ 10. The Hague Convention does not preclude service by email, and the declarations to the

Hague Convention filed by China do not appear to expressly prohibit email service. Id.

Additionally, according to Article 1 of The Hague Convention, the “convention shall not apply

where the address of the person to be served with the document is not known.” Id. at ¶ 11. As such,

United States District Courts, including in this District, routinely permit alternative service of

process notwithstanding the applicability of the Hague Convention. See e.g., In re Potash Antitrust

Litig., 667 F. Supp. 2d 907, 930 (N.D. Ill. 2009) (“plaintiffs are not required to first attempt service

through the Hague Convention.”); see also In re LDK Solar Secs. Litig., 2008 WL 2415186,*2

(N.D. Cal. Jun. 12, 2008) (authorizing alternative means of service on Chinese defendants without



                                                  27
     Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 35 of 36 PageID #:148




first attempting “potentially fruitless” service through the Hague Convention’s Chinese Central

Authority); Nanya Tech. Corp. v. Fujitsu Ltd., No. 1:06-cv-00025, 2007 WL 269087, *6 (D. Guam

Jan. 26, 2007) (Hague Convention, to which Japan is a signatory, did not prohibit e-mail service

upon Japanese defendant); Popular Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560,

562 (E.D. Tenn. 2004) (recognizing that, while “communication via e-mail and over the internet

is comparatively new, such communication has been zealously embraced within the business

community”). In addition, the law of the People’s Republic of China does not appear to prohibit

electronic service of process. Vogt Declaration at ¶¶ 10-12. The proposed Temporary Restraining

Order provides for issuance of single original summons1 in the name of “Private bespoke shop and

all other Defendants identified in the Complaint” that shall apply to all Defendants in accordance

with Federal Rule of Civil Procedure 4(b). As such, Plaintiff respectfully requests this Court’s

permission to serve Defendants via e-mail and/or electronic publication.

V.       A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

         The posting of security upon issuance of a temporary restraining order or preliminary

injunction is vested in the Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787,

789 (8th Cir. 1989); Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 (4th Cir.

1999); Fed. R. Civ. P. 65(c). Because of the strong and unequivocal nature of Plaintiff’s evidence

of counterfeiting, infringement, and unfair competition, Plaintiff respectfully requests that this

Court require Plaintiff to post a bond of no more than ten thousand U.S. Dollars ($10,000.00). See,

e.g., Monster Energy Co. v. Chen Wensheng, 136 F. Supp. 3d 897, 910-11 (N.D. Ill. 2015).

VI.      CONCLUSION


1
 The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are multiple defendants, the
plaintiff may secure issuance of a summons for each defendant, or may serve copies of a single original bearing the
names of multiple defendants if the addressee of the summons is effectively identified.” Fed. R. Civ. P. 4(b) advisory
committee notes (1993) (emphasis added).

                                                         28
   Case: 1:23-cv-14485 Document #: 13 Filed: 10/04/23 Page 36 of 36 PageID #:149




       Plaintiff’s business, the Luke Combs brand, and consumers are being irreparably harmed.

Without entry of the requested relief, the sale of Counterfeit Luke Combs Products will continue

to lead prospective purchasers and others to believe that Defendants’ products have been

manufactured by or emanate from Plaintiff. Therefore, entry of an ex parte order is necessary to

protect Plaintiff’s trademark rights, to prevent further harm to Plaintiff and the consuming public,

and to preserve the status quo. In view of the foregoing and consistent with previous similar cases,

Plaintiff respectfully requests that this Court enter a Temporary Restraining Order in the form

submitted herewith and set a status hearing before the expiration of the Temporary Restraining

Order at which hearing Plaintiff intends to present a motion for preliminary injunction.

DATED: October 4, 2023                               Respectfully submitted,

                                                     /s/ Keith A. Vogt
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                                                29
